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                                                                           January 8, 2019

BY ECF
Hon. Vernon S. Broderick, U.S.D.J.
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, New York 10007

               Re:   Avalon Holdings Corp. v. Gentile et ano. (Case No. 18-CV-7291) and
               New Concept Energy Inc. v. Gentile et ano. (Case No. 18-CV-8896)

Dear Judge Broderick:

        This firm represents defendants Guy Gentile and MintBroker International Ltd.
(Bahamas) in each of the above-listed related actions. We write in response to the December 31,
2018 letter of David Lopez opposing defendants’ motions to dismiss or transfer the actions
pursuant to Fed. R. Civ. P. 12(b)(3). Mr. Lopez’s letter candidly acknowledges that Plaintiffs
failed to plead facts – and otherwise have no evidence – establishing venue in this district.
Rather than admit that transfer to Puerto Rico is necessary given this reality, Plaintiffs instead
seek a stay of the briefing on defendants’ motion and leave to conduct venue-related discovery
purportedly to determine whether MintBroker’s trading records would permit Plaintiffs to make
an argument for venue in this district. Defendants oppose plaintiffs’ improper requests and
respectfully request a decision on their motion to dismiss or transfer.

        By way of background, Avalon Holdings Corp. v. Gentile et ano. (18-CV-7291) is a case
brought by an Ohio-based and Ohio-incorporated corporation against a Bahamas-based company
and a relief defendant domiciled and residing in the Commonwealth of Puerto Rico. Likewise,
New Concept Energy Inc. v. Gentile et ano. (18-CV-8896) is a case brought by a Texas-based
and Nevada-incorporated corporation against the same defendants. As set forth in defendants’
papers, there is no question that both actions could have been properly venued (separately) in the
District of Ohio and the Northern District of Texas, or venued together in the District of Puerto
Rico. Since the actions are now related, Puerto Rico is the only proper venue.

        In the actions, the plaintiffs each seek the disgorgement of short-swing profit allegedly
made by defendant MintBroker with vicarious liability sought against Gentile as the alleged
holder of a 100% pecuniary interest in MintBroker. Neither of the operative complaints in the
above-actions allege any conduct occurring in this district by any individual or company. Rather,
they merely allege that the shares of Avalon and New Concept are both listed on the New York
Stock Exchange and speculate – erroneously – that some of MintBroker’s trades occurred on the
exchange (without alleging that any “act or transaction” occurred, or any trades were executed,
in New York). In moving to dismiss or transfer, defendants highlighted the complaints’ blaring
lack of any allegations of an act or transaction in New York and noted the uncontroversial point
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that plaintiffs’ shares being listed on the New York Stock exchange was irrelevant. Obviously,
shares listed on the New York Stock Exchange can trade elsewhere, as they were here, and in
any event the vast majority of trading on the New York Stock Exchange occurs in its electronic
trading facility in Mahwah, New Jersey. While 11 Wall Street may be steps from the
courthouse, nothing relevant to venue in this case occurred there.

        Rather than file an opposition memorandum supporting venue in this district on the basis
of the complaints, plaintiffs seek a stay and leave to take discovery in search of evidence they
hope will show what their complaints failed to allege: something occurring in this district that
would suffice to support venue. Plaintiffs’ requests should be denied for three reasons:

        First, where, as here, a complaint fails to allege a proper basis for venue, the district court
is obligated to dismiss the complaint for lack of venue, or transfer to an appropriate venue.
Plaintiffs fail to cite a single case in which a federal court has ruled that a plaintiff is entitled to
cure its insufficient venue pleadings by placing the burden of discovery on the court and
defendant, when venue is clearly proper in Puerto Rico, and uncontested there.

         Second, in this case, the overly-broad discovery sought would not aid plaintiffs’
argument, even if granted. Following receipt of plaintiffs’ letter, MintBroker conducted a review
of its records regarding trading in its proprietary account of Avalon or New Concept Energy
stock. Following that review, MintBroker determined that not a single trade in either company
by MintBroker was routed directly to the New York Stock Exchange, but through a Connecticut-
based broker dealer and a New Jersey-based stock exchange.1 Of course, even if any relevant
trades were eventually routed to the New York Stock Exchange by another broker dealer, it
would have no bearing on proper venue in this case, which involves MintBrokers’ trades placed
in the Bahamas with counterparties trading outside of New York. In short, neither defendant has
any information or documents showing how any non-party routed the trade orders (if at all)
making plaintiffs’ discovery requests for trade records entirely futile for purposes of determining
venue.

Third, Blau v. Mission Corp. 212 F. 2d. 77 (2d. Cir. 1954) is not instructive. That opinion merely
states that if transactions occurred in the district venue was proper. However, the trial court
decision in that case makes clear that the case involved conduct and trades made on the New
York Stock Exchange between 1948 and 1951, when Truman was president. Blau v. Mission
Corp., 113 F Supp. 153, 155 (S.D.N.Y. 1953). Seventy years ago, trading on the New York
Stock Exchange involved two individuals shouting at each other in a large room at 11 Wall
Street and recording their agreement on hand-written tickets. The court’s language in Blau was
based on there being an actual transaction that occurred in New York. But in this case, plaintiffs
only allege that the plaintiffs’ stock is listed on the exchange and have no basis to allege that the
trade orders placed in the Bahamas occurred “on” the New York Stock Exchange, and that if
they occurred on the exchange they actually occurred in New York, as opposed to New Jersey or


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    MintBroker can provide an affidavit confirming this statement if necessary or helpful.
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elsewhere. Party discovery will not shed further light on this question.

        More recent cases that involve both venue and allegations of improper trading focus on
the place of the alleged impropriety (such as where a trade was controlled from) rather than the
location of the server where the buy order met the sell order. See, e.g., Rubinstein v. Skyteller,
Inc., 48 F. Supp. 2d 315, 324–26 (S.D.N.Y. 1999) (holding in a case alleging securities fraud that
the proper venue was the location the challenged statements were made, not where they were
received). Here, in contrast to Blau, the only individuals with any involvement in the trades at
issue sat in the Bahamas where the trades were placed. Whatever else occurred was by virtue of
computer servers and trading/routing algorithms, and has no bearing on proper venue.

        In their December 31 letter, plaintiffs preview their argument that 28 U.S.C. 1391 is not
the controlling provision, and that the proper question for venue is not where a “substantial
portion” of the events at issue occurred, but rather where “any act or transaction constituting the
violation occurred” under 15 U.S.C. § 78aa. However, the distinction is meaningless here as
plaintiffs have no basis to allege that “any act or transaction” occurred in this district.2
Whichever venue provision controls, the result is the same. Plaintiffs cannot allege any trades
were placed in New York, and defendants are not in possession of documents showing any of its
trades were executed on the New York Stock Exchange. Finally, plaintiffs’ unorthodox
argument that the case should not be transferred because the District of Puerto Rico is “not
renowned for its securities law expertise” is improper.

        As such, plaintiffs’ request for a stay and discovery would only lead to delay and burden,
and it would not inform the merits of the motion. Because a proper and uncontested venue has
been identified, such a diversion would be particularly pointless here. For the foregoing reasons,
defendants respectfully request that the Court deny plaintiffs’ December 31, 2018 letter request.3

                                                      Respectfully submitted,

                                                      FORD O’BRIEN LLP



                                                      Adam C. Ford
                                                      Robert S. Landy
cc: All Counsel of Record via ECF



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  Under 15 U.S.C. §78aa, as under 28 U.S.C. §1391, venue would be proper for both actions in
the District of Puerto Rico based on Gentile’s domicile and residence there.
3
  In their letter, Plaintiffs’ counsel again makes the baseless allegation that MintBroker’s conduct
amounted to a “pump and dump scheme,” an allegation of fraud. This allegation, beyond being
false and defamatory, should result in dismissal of the complaints, since if the alleged conduct
was a pump and dump scheme, plaintiffs here would have no standing to bring these claims.
